          Case 3:11-cr-05200-JAH                         Document 40              Filed 02/22/12               PageID.128              Page 1 of 2


     ~AO 245B (CASD)      (Rev ]112)   Judgment in a Criminal Case                                                                    FILED
                Sheet I
                                                                                                                                                ~ "   " " ,n
                                                                                                                                       r LU .. .., ,"" ,'­

                                                 UNITED STATES DISTRICT COURT                                               CLERk US DISTRICT COURT
                                                                                                                          mERN DISTRICT OF CAliFORNIA
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                         •                   DEPUTY
                                                                                                                                 •
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                           v.                                         (For Offenses Committed On or After November 1,1987)

                       Jorge Eluid Miranda-Moreno -2                                  Case Number: ll-cr-OS200-JAH-2

                                                                                      Jeremy D Warren
                                                                                      Defendant's Attorney
     REGISTRATION NO. 29068298

     o
     THE DEFENDANT:
     (81 pleaded guilty to count(s) _T_w_o_o_f_th_e_I_n_fo_nTI_a_ti_o_n_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                            Nature of Offense                                                                           Number(s)
8: I 324(a)(1 )(A)(iv) &                 Inducing and Encouraging Illegal Aliens to Enter the United States                                 2
(v)(I1)




        The defendant is sentenced as provided in pages 2 through                 2          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 W Count(s)_r_em_al_n_ln.:;;g_
 IV!                . .                                        ----------------------------------------------------
                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is I'V1
                                                                    I2SJ          are D dismissed on t h  ' of the United States.
                                                                                                       emotion

 ~ Assessment: $100.00 waived.


 (81 No fine                                          o    Forfeiture pursuant to order filed
                                                                                                   ----------                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing addrcss until all fines. restitution. costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                      ITED STATES DISTRICT JUDGE



                                                                                                                                           ll-cr-OS200-JAH-2
    Case 3:11-cr-05200-JAH                      Document 40             Filed 02/22/12    PageID.129           Page 2 of 2


AO 245B (CASD) (Rev 1/12) Judgment in a Criminal Case
           Sheet 2 ~- Imprisonment

                                                                                           Judgment   Page    2     of       2
 DEFENDANT: Jorge E1uid Miranda-Moreno -2
 CASE NUMBER: l1-cr-05200-JAH-2
                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        Time Served.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    D The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                   Oa.m.    Op.m.         on
              as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before
          o notified the United States Marshal.
               as
                      --------------~-------------------------------------------------------
                           by
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                                  to

 at __________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                    By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                               ll-cr-05200-JAH-2
